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           NOTE: This order is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                  ______________________

    In Re MICRON TECHNOLOGY INC., MICRON
        SEMICONDUCTOR PRODUCTS, INC.,
                    Petitioners
              ______________________

                         2025-135
                  ______________________

    On Petition for Writ of Mandamus to the United States
District Court for the Eastern District of Texas in No. 2:23-
cv-00028-JRG-RSP, Judge J. Rodney Gilstrap.
                  ______________________

                      ON PETITION
                  ______________________

   Before REYNA, TARANTO, and STARK, Circuit Judges.
PER CURIAM.
                         ORDER
    Micron Technology Inc. and Micron Semiconductor
Products, Inc. (collectively, “Micron”) petition for a writ of
mandamus, seeking to compel the district court to rule on
Micron’s motion to transfer and stay all proceedings until
that motion is resolved. BeSang Inc. opposes. For the fol-
lowing reasons, we deny the petition.
   On January 23, 2023, BeSang filed a complaint at the
United States District Court for the Eastern District of
Texas alleging patent infringement by Micron. Micron
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2                              IN RE MICRON TECHNOLOGY INC.




moved to transfer the case under 28 U.S.C. § 1404(a) to the
United States District Court for the District of Idaho, but
before the district court acted on that motion, the court
granted the parties’ request for a stay pending the United
States Patent and Trademark Office’s resolution of inter
partes review proceedings regarding the asserted patent.
    In February 2025, two months after the stay was lifted,
the parties agree that the magistrate judge noted at a sta-
tus conference he expected to rule on the transfer motion
before holding a claim construction hearing.            On
March 6, 2025, the parties jointly moved for entry of an
amended scheduling order, wherein they “agreed on all
dates up to the deadline for pretrial submissions” but dis-
puted the “date for the Pretrial Conference.” Dkt. No. 101
at 1. On March 10, 2025, the district court entered the
amended scheduling order that, inter alia, set a claim con-
struction hearing for July 22, 2025. On June 5, 2025, Mi-
cron moved to stay proceedings pending resolution of the
motion to transfer, and, on June 27, 2025, filed this peti-
tion. On July 15, 2025, the magistrate judge denied the
motion to transfer.
     To obtain a writ of mandamus, a petitioner must show:
(1) there is “no other adequate means to attain the relief”
requested; (2) “issuance of the writ is clear and indisputa-
ble;” and (3) “the writ is appropriate under the circum-
stances.” Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367,
380–81 (2004) (cleaned up). Under the circumstances, Mi-
cron has failed to meet that demanding standard. The
magistrate judge has now ruled on Micron’s motion to
transfer and while Micron insists that the district judge
must resolve the motion before the magistrate judge can
hold the claim construction hearing—presumably Micron
intends to file objections to the magistrate judge’s order—
its petition does not demonstrate a clear and indisputable
right to that relief or that expedited review of its objections
would be an inadequate means for obtaining relief.
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IN RE MICRON TECHNOLOGY INC.                            3



    Accordingly,
    IT IS ORDERED THAT:
    The petition is denied.
                                           FOR THE COURT




 July 18, 2025
     Date
